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 1   HOLLAND & KNIGHT LLP                          KILPATRICK, TOWNSEND & STOCKTON LLP

 2   Kristopher L. Reed (SBN 235518)               April E. Isaacson (SBN 180638)
     kris.reed@hklaw.com                           aisaacson@kilpatricktownsend.com
 3   One Arts Plaza                                Two Embarcadero Center, Suite 1900
     1722 Routh Street, Suite 1500                 San Francisco, CA 94111
 4   Dallas, TX 75201                              Tel: (415) 576-0200 / Fax: (415) 576-0300
     Tel: (214) 964-9500 / Fax: (214) 964-9501
 5                                                 Kevin M. Bell (admitted pro hac vice)
     Edward J. Mayle (admitted pro hac vice)       kbell@ktslaw.com
 6   edward.mayle@hklaw.com                        1400 Wewatta St., Suite 600
     Kenneth S. Chang (SBN 211925)                 Denver, CO 80202
 7   ken.chang@hklaw.com                           Tel :(303) 571-4000 / Fax: (303) 571-4321
     1801 California Street, Suite 5000
 8   Denver, CO 80202                              Andrew W. Rinehart (admitted pro hac vice)
     Tel: (303) 974-6660 / Fax: (303) 974-6659     arinehart@kilpatricktownsend.com
 9                                                 1001 West Fourth Street
     Attorneys for Defendants                      Winston-Salem, NC 27101
10                                                 Tel: (336) 607-7300 / Fax: (336) 607-7500

11                                                 Kathleen R. Geyer (admitted pro hac vice)
                                                   kgeyer@kilpatricktownsend.com
12                                                 1420 Fifth Ave., Ste. 3700
                                                   Seattle, WA 98101
13                                                 Tel: (206) 467-9600 / Fax: (206) 623-6793

14                                                 Attorneys for Defendants

15

16                               UNITED STATES DISTRICT COURT

17                      FOR THE NORTHERN DISTRICT OF CALIFORNIA

18                                      SAN JOSE DIVISION

19

20   REGENTS OF THE UNIVERSITY OF                Civil Action No. 18-cv-00821-EJD-NMC
     MINNESOTA,
21
                   Plaintiff,                    DEFENDANTS’ NOTICE OF MOTION
22                                               AND MOTION IN LIMINE TO
            v.                                   PRECLUDE UMN FROM PRESENTING
23                                               ALTERNATIVE ROYALTY RATE AND
     LSI CORPORATION AND                         ROYALTY BASE CALCULATIONS
24   AVAGO TECHNOLOGIES U.S. INC.,
                                                 Date: March 6, 2025
25                 Defendants.                   Time: 2:00 P.M.
                                                 Place: Courtroom 4, 5th Floor, 280 S. 1st
26                                               Street, San Jose, CA 95113

27                                               Hon. Edward J. Davila

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 1                                         NOTICE OF MOTION

 2   TO ALL PARTIES HEREIN AND THEIR ATTORNEYS OF RECORD:

 3          PLEASE TAKE NOTICE that on March 6, 2025, at 2:00 P.M. or soon thereafter as

 4   counsel may be heard by the Honorable Judge Davila, in the United States District Court for the

 5   Northern District of California, located at 280 South 1st Street, San Jose, California, Defendants

 6   LSI Corporation and Avago Technologies U.S. Inc. (collectively, “LSI”) will move and hereby do

 7   move in limine to preclude Plaintiff Regents of the University of Minnesota (“UMN”) from

 8   introducing any evidence, testimony, argument, or otherwise referencing at trial any alternative

 9   royalty rate calculations or royalty base calculations that were not explicitly disclosed in the

10   Expert Report of Ms. Catherine Lawton, UMN’s designated expert on the issue of damages.

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 1          MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION

 2     I.    INTRODUCTION AND STATEMENT OF THE ISSUE TO BE DECIDED
 3           Pursuant to Fed. R. Civ. P. 26(a)(2)(B) and Fed. R. Civ. P. 37(c) , Defendants LSI

 4   Corporation and Avago Technologies, Inc. (collectively, “Defendants”) respectfully request that

 5   the Court preclude Plaintiff Regents of the University of Minnesota (“UMN”) from introducing

 6   any evidence, testimony, argument, or otherwise referencing at trial any alternative royalty rate

 7   calculations or royalty base calculations that were not explicitly disclosed in the expert report of

 8   Ms. Catherine Lawton, UMN’s designated expert on the issue of damages. In her report, Ms.

 9   Lawton identified a single royalty rate calculation (the result of her application of the Georgia-

10   Pacific “hypothetical negotiation” framework) with no alternative rates or rate structures. Ms.

11   Lawton then applied that single royalty rate to a discrete set of royalty base calculations. Those

12   royalty base calculations, detailed in Defendants’ pending Daubert motion that challenges the

13   admissibility of said calculations, constitutes the only royalty base opined to by Ms. Lawton in her

14   report. Pursuant to the Rules governing expert disclosures, Ms. Lawton should be precluded from

15   offering any other royalty rate calculation or royalty base calculation should UMN seek to offer a

16   new rate or base at trial.

17           The issues to be decided are: Whether UMN should be precluded from introducing any

18   evidence, testimony, argument, or otherwise referencing at trial any alternative royalty rate

19   calculation arising from the hypothetical negotiation other than the single royalty rate identified in

20   paragraph 1081 of Ms. Lawton’s report; and whether UMN should be precluded from introducing

21   any evidence, testimony, argument, or otherwise referencing at trial any alternative royalty base

22   calculation arising from the hypothetical negotiation other than the specific royalty base

23   calculations identified in Ms. Lawton’s report.

24    II.    FACTUAL BACKGROUND
25           A.      The Accused Products
26           The two accused read channel programs sold by LSI are identified in Ms. Lawton’s Report

27   as the “Accused Products.” Dkt. 317-3 at 5. These read channels are incorporated as one

28   component of a much larger “System on a Chip” (“chip” or “SoC”) that is sold by LSI for use in
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 1   HDDs. See id. By themselves, neither read channel can be used to practice the patented methods:

 2   the SoCs with these accused read channels as sold by LSI have no power source, no means to

 3   receive data, and no means to record data (e.g., no disk). See id. As such, the accused SoC’s can

 4   only be used allegedly to infringe after they are incorporated into hard disk drives (“HDD”)

 5   manufactured by LSI’s customers and used by downstream purchasers.

 6             B.     Ms. Lawton’s Royalty Rate and Royalty Base Calculations
 7             As set forth in Defendants’ pending Daubert motion directed to Ms. Lawton’s opinions

 8   (Dkt. 317-3), Ms. Lawton’s calculation of the royalty rate that would be reached during the

 9   hypothetical negotiation is set forth at paragraphs 1076 to 1082 of her report. See Dkt. 317-3 at 7;

10   Dkt. 317-4 (Report) at ¶¶ 1076-1082. Regardless of whether damages are calculated as a running

11   royalty or as a lump sum, Ms. Lawton presents only this single calculated royalty rate as the

12   outcome of the hypothetical negotiation as seen in paragraph 1081 of her report. Id.; see also Dkt.

13   317-4 at ¶¶ 1079-80, 1082. Similarly, Ms. Lawton offers just two alternative calculations of a

14   royalty base for accused products, one based on “actual” sales of Defendants’ accused HDD SoCs

15   and a second based on a projection of sales of those same SoCs. 1 Dkt. 317-3 at 6-7. As set forth in

16   Defendants’ Daubert motion, Ms. Lawton made no effort whatsoever to identify how many of the

17   accused SoCs actually were configured to use the sole accused code rate option; as such,

18   Defendants moved to exclude these royalty base calculations for failure to apportion the royalty

19   base. Id. at 10-14. Since Defendants’ filing of its Daubert motion, UMN has not served, nor

20   sought leave to serve, any supplemental report for Ms. Lawton.

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         Ms. Lawton offered a third proposed royalty base in her report that untypically includes products
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     that are not accused of infringement in this case. See id. at 9-10, 24-25. That third base of non-
26
     accused products is the subject of a separate Daubert challenge, and LSI is not attempting to
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     exclude that third, non-accused royalty base under the present motion in limine. See id.
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 1   III.   LEGAL ARGUMENT

 2          A.      Ms. Lawton Cannot Present Royalty Calculations at Trial Beyond the Single
                    Royalty Rate and Two Royalty Bases for Accused Products Disclosed in Her
 3                  Report
 4          Ms. Lawton disclosed, in her expert report, opinions as to a single royalty rate and just two
 5   alternative calculations of the royalty base for accused products – “actual” and “projected.” Ms.
 6   Lawton should be precluded from offering testimony at trial as to any other royalty rate or royalty
 7   base calculation for accused products.
 8          Federal Rule of Civil Procedure 26(a)(2)(B)(i) provides that an expert report must contain
 9   “a complete statement of all opinions the witness will express.” Thus, “[a]ll expert witnesses at
10   trial must tether their testimony to the contents of their respective reports, and are precluded from
11   exceeding the scope of their reports.” AngioScore, Inc. v. TriReme Med., Inc., No. 12-CV-03393-
12   YGR, 2015 WL 5258786, at *1 n.1 (N.D. Cal., Sept. 8, 2015); see, e.g., Cheese Sys., Inc. v. Tetra
13   Pak Cheese & Powder Sys., Inc., 725 F.3d 1341, 1354 (Fed. Cir. 2013) (affirming district court's
14   striking in part of an expert declaration that included untimely disclosures); Honeywell Int'l Inc. v.
15   Universal Avionics Sys. Corp., 488 F.3d 982, 995 (Fed. Cir. 2007) (affirming district court’s
16   exclusion of expert testimony that fell outside the expert's report). Ms. Lawton should be similarly
17   limited to only what is found in her report with respect to any other royalty rate or any other
18   calculation of the royalty base for accused products.
19
            B.      Ms. Lawton Should Be Excluded From Presenting Any Undisclosed “Sur-
20                  Rebuttal” Opinions at Trial

21          Ms. Lawton should further be precluded from offering at trial undisclosed opinions or

22   other testimony that purport to rebut the opinions to be offered by Defendants’ expert, Dr.

23   McGahee. This would include opinions as to any calculated royalty base that may or may not be

24   offered in rebuttal to Ms. Lawton by Dr. McGahee. Ms. Lawton has not timely or properly

25   disclosed any opinions that comment on Dr. McGahee’s analysis, nor has Ms. Lawton timely

26   disclosed any opinion on damages that relies on or addresses in any way Dr. McGahee’s

27   calculated royalty base. Moreover, Dr. McGahee’s report did not rely on new evidence or

28   witnesses that were not equally available to UMN during fact discovery. UMN’s only damages

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 1   theory—as confirmed in its summary judgement and Daubert response briefs—is that UMN is

 2   entitled to royalties on any product that could be configured to perform the accused LSI process

 3   anywhere in the world, irrespective of whether the product was ever configured to actually

 4   perform the accused process or was ever sold or used in the United States. In particular, neither

 5   UMN nor Ms. Lawton ever put forth a damages theory premised only on actual performance of

 6   the sole accused LSI process (versus other non-accused processes), or that differentiated between

 7   products that performed the accused LSI process abroad versus in the United States (as Dr.

 8   McGahee did and as the case law requires). Nor did Ms. Lawton ever attempt to quantify how

 9   many third-party products were configured to use the sole accused LSI process versus those that

10   were configured to use a non-accused process. A party that fails to timely disclose expert

11   opinions, as required by Rule 26(a), are “not allowed to use that information or witness to supply

12   evidence on a motion, at a hearing, or at a trial . . .” Fed. R. Civ. P. 37(c)(1).

13           Courts in this district have prohibited such “sur-rebuttal” testimony. For example, one

14   court noted there is prejudice to a party when that party “did not know [the opposing party] would

15   be offering sur-rebuttal opinions until he did so” at deposition. Benefit Cosms. LLC v. e.l.f.

16   Cosms., Inc., No. 23-CV-00861-RS, 2024 WL 3558848, at *7 (N.D. Cal. July 25, 2024). The court

17   confirmed that it was improper to “re-open an expert’s deposition at a later date in order to

18   question that expert on their new sur-rebuttal opinions.” Id. The court only allowed sur-rebuttal

19   evidence to rebut criticisms of the original report—not to rebut alternative theories and

20   calculations that the original expert never put forward. Id. (“[T]o avoid prejudice …, [the expert]

21   will not be permitted to offer such testimony outside the rebuttal context.”); see also id. (“It was

22   improper for e.l.f. to seek to add this new theory to Teshome’s opinions on re-direct

23   examination.”).

24           If Ms. Lawton was allowed to present “sur-rebuttal” opinions in response to Dr.

25   McGahee’s calculations at trial, the situation would be even more prejudicial than Benefit

26   Cosmetics. In Benefit Cosmetics, the improper sur-rebuttal testimony was provided in deposition

27   during expert discovery, giving the opposing party some notice of the sur-rebuttal testimony that

28   would be presented at trial. UMN has not given LSI any notice of what Ms. Lawton’s alleged sur-
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 1   rebuttal testimony. The court noted that the opposing party’s questioning did not “open the door”

 2   to allow the expert to set forth new theories on re-direct examination. Id. To the extent any sur-

 3   rebuttal testimony is not contained in her report, it should be excluded. See, also, Koger v. Costco

 4   Wholesale Corp., No. 3:20-CV-08759-JD, 2023 WL 8188842, at *2 (N.D. Cal. Nov. 27, 2023)

 5   (“At trial, Ver Halen may not introduce new evidence or new arguments not previously disclosed

 6   or relied upon in his expert report. Introducing additional evidence at this late stage of litigation

 7   would deprive plaintiffs of the opportunity to depose experts or prepare cross-exams and

 8   rebuttals.”); Brown v. DirecTV, LLC, No. CV 13-1170-DMG (EX), 2022 WL 2117803, at *5

 9   (C.D. Cal. May 19, 2022) (“But now, there are only four weeks before trial—and even less time

10   for DirecTV to actually conduct its review, considering the productions and supplemental analysis

11   are not actually complete yet. It is unreasonable to expect DirecTV to mount a serious rebuttal in

12   this time, while also preparing for trial.”). As such, UMN and Ms. Lawton should not be permitted

13   to criticize, rely on, adopt, or otherwise provide undisclosed opinions in “sur-rebuttal” of Dr.

14   McGahee, including any new alternative calculations in response to Dr. McGahee’s independent

15   calculations of the correct royalty rate and base.

16   II.    CONCLUSION
17          Therefore, Defendants respectfully request that this motion be granted and Ms. Lawton not

18   be allowed to present alternative royalty theories at trial beyond the single royalty rate and two

19   royalty bases for accused products disclosed in her expert report. Ms. Lawton should further be

20   precluded from offering any undisclosed opinions in “sur-rebuttal” to Dr. McGahee’s opinions or

21   calculated royalty base.

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 1   DATED: February 13, 2025        Respectfully submitted,

 2                                   By: /s/ Kevin M. Bell

 3                                       HOLLAND & KNIGHT LLP
 4                                       Kristopher L. Reed (SBN 235518)
                                         Kenneth S. Chang (SBN 211925)
 5                                       Edward J. Mayle (admitted pro hac vice)
 6                                       KILPATRICK, TOWNSEND & STOCKTON LLP
 7                                       April E. Isaacson (SBN 180638)
                                         Kevin M. Bell (admitted pro hac vice)
 8                                       Andrew W. Rinehart (admitted pro hac vice)
                                         Kathleen R. Geyer (admitted pro hac vice)
 9
                                         Attorneys for Defendants
10                                       LSI Corporation and Avago Technologies U.S. Inc.
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 1                                 CERTIFICATE OF SERVICE

 2          I hereby certify that a true and correct copy of the above and foregoing document has

 3   been served on all counsel of record via the Court’s ECF system on February 13, 2025.

 4                                                      /s/ Kevin M. Bell

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